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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,                 )
                                           )
                             Plaintiff,    )          17-cr-64-DWF-KMM
                                           )
               v.                          )         DECLARATION OF
                                           )         MARK H. LYON
 EDWARD S. ADAMS,                          )
                                           )
                             Defendant.    )

       Pursuant to 28 U.S.C. § 1746, I, Mark H. Lyon, hereby declare:

       1.     I am a United States citizen over eighteen years of age. Since May of 2016,

I have been employed as an eDiscovery Consultant and Discovery Attorney Staffing

Manager at Williams & Connolly LLP.

       2.     Before joining the firm, I was employed by a large eDiscovery vendor,

Huron Consulting Group (now Consilio), ultimately as a Senior Review Operations Lead.

I have managed numerous document reviews using Relativity, a popular eDiscovery

software tool, since 2008. I also participated in Huron’s testing and implementation of

Relativity. I am both a Relativity Certified Administrator and Relativity Certified User.

       3.     Relativity includes a time-stamped internal audit system to log user actions

performed within the tool, called the “History.” When a user views or prints a document

within Relativity, those actions (among others), are recorded in the History.

       4.     Relativity displays individual documents using a “Viewer.” Users can

easily select between multiple modes, including: viewer, image, extracted text, and

native. Relativity viewer mode, image mode, and extracted text mode all display differing
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renderings of the document content within the Relativity tool. However, native mode

permits a user to download or open a document in its native form (e.g., Microsoft Excel,

Microsoft Word, Adobe PDF). If a user choses to view a document in native mode, the

document is opened on the user’s computer using the native software application. This

can be particularly useful for complicated documents, such as Excel spreadsheets, which

often lack full functionality or proper formatting when viewed using other modes.

       5.      While a History entry is created for each document viewed, the records do

not indicate the viewer mode utilized to display a document. New History entries are not

created if the mode is changed while viewing the document. If a user selects native mode

and then prints or saves the document from within the native application, only the view

action would be recorded in Relativity’s History; the print or save action takes place in

the native application (e.g., Excel), not Relativity, and is therefore not logged. Similarly,

if a user opens an email in native mode and then forwards the email using their email

system, that action is not logged.

       6.      I have confirmed through independent testing that the Relativity History

function does not differentiate between viewing a document in native mode or viewing it

in another viewer mode. I have also confirmed that the History function does not record

when a document, viewed in native mode, is saved, printed, or emailed from the native

application.




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I declare under penalty of perjury that the foregoing is true and correct.



                                           Executed this 31st day of May, 2018.



                                           ______________________________

                                           Mark H. Lyon




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